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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

In re:                                                )   Chapter 11
                                                      )
TWC Liquidation Trust, LLC,1                          )   Case No. 18-10601 (MFW)
                                                      )
                 Debtor.                              )   Objection Deadline: Dec. 13, 2021 at 4:00 p.m. (ET)
                                                      )   Hearing Date: Dec. 20, 2021 at 2:00 p.m. (ET)
                                                      )


       THE LIQUIDATION TRUSTEE’S MOTION FOR ORDER AUTHORIZING
    ABANDONMENT OF DEBTORS’ RIGHTS TO CERTAIN PERSONAL PROPERTY

         The Liquidation Trustee hereby moves (the “Motion”) the Court for entry of an order,

 substantially in the form attached hereto as Exhibit A, authorizing the Liquidation Trustee to

 abandon all rights, title, and interest in and to the personal property listed on Exhibit B,

 consisting of tangible assets, such as film data, tapes, and books and records (collectively, the

 “Abandoned Assets”). The Liquidation Trustee also requests authority to dispose of or destroy

 all tangible Abandoned Assets in the event that they are not claimed within thirty (30) days after

 entry of an order.

         The Liquidation Trustee brings this Motion pursuant to sections 105(a) and 554 of title 11

 of the United States Code (the “Bankruptcy Code”) and Rule 6007 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”) on the grounds that the Abandoned Assets are

 of de minimis value and their storage is burdensome to the TWC Liquidation Trust. The Motion

 is supported by applicable legal authority described below and the pleadings and records before

 the Court.

         In support of the Motion, the Trustee respectfully represents as follows:



 1
   The mailing address for TWC Liquidation Trust, LLC is c/o Dean Ziehl, Pachulski Stang Ziehl & Jones LLP, 10100
 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067.
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                                      Jurisdiction and Venue

       1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2). The Trustee confirms his consent pursuant to Local Rule 9013-

1(f) to the entry of a final order by the Court in connection with this Motion to the extent that it is

later determined that the Court, absent consent of the parties, cannot enter final orders or judgments

in connection herewith consistent with Article III of the United States Constitution.

       2.      Venue of this proceeding and this Motion is proper in this District pursuant to 28

U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested herein are sections 105(a) and 554 of

the Bankruptcy Code and Bankruptcy Rule 6007.

                                            Background

       4.      On March 19, 2018 (the “Petition Date”), the Debtors commenced these voluntary

chapter 11 cases in the United States Bankruptcy Court for the District of Delaware;

       5.      On May 9, 2018, the Court entered an Order (I) Authorizing the Sale of All or

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Interests,

Encumbrances and Other Interests, (II) Authorizing the Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases in Connection Therewith, and (III) Granting Related

Relief [Docket No. 846] (“Sale Order”), which, among other matters, authorized the Debtors to

consummate the sale of substantially all of their assets to Spyglass Media Group, LLC f/k/a

Lantern Entertainment LLC (“Spyglass”).




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        6.       On December 18, 2020, the Court entered an Order Authorizing and Establishing

Procedures for the Sale, Transfer, or Abandonment of De Minimis Assets (“De Minimis Asset

Order”) [Docket No. 3141]. Pursuant to the De Minimis Asset Order, the Debtors were

authorized to abandon de minimis assets with a net book value of no more than $250,000, subject

to an abandonment notice served by email if possible on limited parties comprised of: (a) counsel

to Spyglass, (b) counsel to the Guilds,2 (c) any party known to hold or assert an interest in the

specific property to be sold or abandoned, (d) if applicable, any non-debtor counterparties to any

executory contracts or unexpired leases relating to the property, (e) any party that has expressed

an interest in purchasing the property, and (e) the entity, if any, to which the Debtors will

abandon the property (the “De Minimis Notice Parties”).

        7.       On January 26, 2021, the Court entered an order [Docket No. 3203] confirming

the Fifth Amended Joint Chapter 11 Plan of Liquidation [Docket Nos. 3182 and 3195] (the

“Plan”), which became effective on February 18, 2021 (the “Effective Date”). Pursuant to the

Plan and the accompanying Liquidation Trust Agreement, the Liquidation Trustee is appointed

as successor-in-interest to, and the representative of, the Debtors’ estates for the retention,

enforcement, settlement, or adjustment of all claims and rights, known and unknown, and all

interests belonging to the Debtors or their estates that arose prior to the Effective Date, except in

connection with any proceeding relating to Sexual Misconduct Claims as defined in the Plan.

        8.       Pursuant to section 2.6 of the Liquidation Trust Agreement, the Liquidation

Trustee may abandon non-cash assets under the following circumstances:


                 Abandonment. If in the Liquidation Trustee’s reasonable judgment, any
                 non-cash Liquidation Trust Assets cannot be sold in a commercially

2
  The “Guilds” mean, collectively, the Directors Guild of America, Inc., Screen Actors Guild-American Federation of
television and Radio Artists, Writers Guild of America West, Inc., and the Motion Picture Industry Pension and Health
Plans.

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               reasonable manner or the Liquidation Trustee believes in good faith that
               such property has inconsequential value to the Liquidation Trust or its
               Beneficiaries, the Liquidation Trustee shall have the right to cause the
               Liquidation Trust to abandon or otherwise dispose of such property.

       9.      The Liquidation Trustee, in consultation with his professionals and advisors,

believes in good faith that the rights of the TWC Liquidation Trust to the Abandoned Assets are

of inconsequential value to the TWC Liquidation Trust and it is in the best interests of the

beneficiaries of the TWC Liquidation Trust to abandon such non-cash assets, including all

tangible records related thereto.

       10.     The Liquidation Trustee has investigated, in consultation with his advisors, the

nature of the Abandoned Assets and understands that the Abandoned Assets are not immediately

saleable and are of de minimis value. Moreover, the Liquidation Trustee currently pays several

thousand dollars per month for climate-controlled storage of film materials and storage of related

electronic and hard copy data. The Liquidation Trustee believes that the Abandoned Assets are

burdensome to the estate and therefore seeks to abandon such assets and to dispose of all records

related to the Abandoned Assets.

       11.     The Liquidation Trustee is prepared to destroy the tangible Abandoned Assets

unless an interested party objects or comes forward to assume storage costs and otherwise relieve

the TWC Liquidation Trust of the burdens of maintaining such assets. Absent any objection or

assumption of storage costs, the Liquidation Trustee will dispose of or destroy all tangible

Abandoned Assets in the event that they are not claimed within thirty (30) days after entry of an

order approving this Motion.

                                        Relief Requested

       12.     By this Motion, the Liquidation Trustee seeks entry of an order authorizing the

Liquidation Trustee to abandon all rights, title, and interest in and to the Abandoned Assets listed


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on Exhibit B, and to dispose of or destroy all tangible Abandoned Assets in the event that they

are not claimed within thirty (30) days after entry of an order.

                                          Basis for Relief

       13.     Section 554 of the Bankruptcy Code provides, in relevant part, that “[a]fter notice

and a hearing, the trustee may abandon any property of the estate that is burdensome to the estate

or that is of inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a).

       14.     The abandonment of estate property is also governed by Bankruptcy Rule 6007,

which reads, in pertinent part, as follows:


               Notice of Proposed Abandonment or Disposition; Objections;
               Hearing. Unless otherwise directed by the court, the trustee or
               debtor in possession shall give notice of a proposed abandonment
               or disposition of property to the United States trustee, all creditors,
               indenture trustees and committees elected pursuant to § 705 or
               appointed pursuant to § 1102 of the Code. A party in interest may
               file and serve an objection within 15 days of the mailing of the
               notice, or within the time fixed by the court. If a timely objection
               is made, the court shall set a hearing on notice to the United States
               trustee and to the other entities as the court may direct.
Fed. R. Bankr. P. 6007(a).

       15.     Trustees and debtors are afforded significant discretion in determining the value

and benefits of particular property for purposes of deciding whether to abandon it. See, e.g., In re

Contract Research Sols., Inc., 2013 Bankr. LEXIS 1784 at *11 (Bankr. D. Del. May 1, 2013)

(“In abandoning property under §554, the debtor ‘need only demonstrate that it has exercised

sound business judgment in making the determination to abandon.”) (citation omitted).

       16.     Indeed, a trustee or debtor’s right to abandon property in accordance with section

554(a) of the Bankruptcy Code is virtually unfettered except when such abandonment would

contravene laws designed to protect public health and safety or pose an imminent threat to the

public’s welfare. See, e.g., In re Midlantic Nat’l Bank, 474 U.S. 494, 501 (1986). Courts have



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held that “[t]he trustee’s power to abandon property is discretionary.” In re Slack, 290 B.R. 282,

284 (Bankr. D.N.J. 2003) (citations omitted). A trustee may abandon estate assets that are of

“inconsequential value and benefit to the estate” or that are “burdensome to the estate.” In re

Reich, 54 B.R. 995, 1004 (Bankr. E.D. Mich. 1985); see In re Contract Research Solutions, Inc.,

2013 Bankr. LEXIS 1784, at *11-12 (Bankr. D. Del. May 1, 2013) (granting request to abandon

personal property at leased location that, according to the debtors, was of negligible commercial

value, storing it created a burden on the estate, and abandonment would pose no threat to public

safety and would not contravene any law or regulation). The decision to abandon must merely

reflect “business judgment made in good faith” that rests on a reasonable basis. In re Cult

Awareness Network, Inc., 205 B.R. 575, 579 (Bankr. N.D. Ill. 1997).

       17.     “Courts defer to the trustee’s judgment and place the burden on the party

opposing the abandonment to prove a benefit to the estate and an abuse of the trustee’s

discretion.” In re Slack, 290 B.R. at 284. “The party opposing the abandonment must show

some likely benefit to the estate, not mere speculation about possible scenarios in which there

might be a benefit to the estate.” Id. “The court only needs to find the trustee made: 1) a

business judgment; 2) in good faith; 3) upon some reasonable basis; and 4) within the trustee’s

scope of authority.” Id. (citing In re Fulton, 162 B.R. 539, 540 (Bankr. W.D. Mo. 1993) and

Collier on Bankruptcy, 15th ed. ¶554.02[4]).

       18.     All of the conditions to abandonment are satisfied here. Continuing to hold the

Abandoned Assets is both burdensome and of no value to the TWC Liquidation Trust.

Abandonment of such assets will not contravene any public policy and will benefit the Debtors’

general unsecured creditors. Accordingly, the Liquidation Trustee submits that absent objection

by any interested party, abandonment of the estate’s interests, if any, in the Abandoned Assets



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listed on Exhibit B is a reasonable exercise of business judgment and appropriate under section

554(a) of the Bankruptcy Code.

                                Waiver of Bankruptcy Rule 6007

       19.     Bankruptcy Rule 6007(a) requires that the Liquidation Trustee serve a copy of

this Motion, “[u]nless otherwise directed by the court” on “all creditors.” Fed. R. Bank. P.

6007(a). The Debtors’ creditor matrix contains over 385 parties. Serving the Motion upon all

creditors would be unnecessarily burdensome and costly. As successor to the Debtor, the

Liquidation Trustee submits that he should be permitted to serve the Motion on the more limited

De Minimis Notice Parties consistent with the Court’s prior De Minimis Asset Order. The

Liquidation Trustee will serve a copy of this Motion and related documents on the parties in

interest set forth below and, therefore, requests, to the extent required, a limited waiver of the

service requirement set forth in Rule 6007. The Liquidation Trustee submits that the requested

waiver is appropriate and will properly and timely effectuate notice to the real parties in interest.

                                               Notice

       20.     Notice of this Motion has been given to the following parties, or their counsel, if

known: (a) the Office of the United States Trustee for the District of Delaware; (b) counsel to

Spyglass Media Group, LLC, (c) counsel to the Guilds, (d) any party known to hold or assert an

interest in the Abandoned Assets, and (e) all persons who have requested notice pursuant to

Bankruptcy Rule 2002. The Liquidation Trustee submits that no other or further notice is

necessary or required.




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       WHEREFORE, the Liquidation Trustee respectfully requests that this Court (a) enter the

proposed order attached as Exhibit A, authorizing the Trustee to (a) abandon all rights, title, and

interest in and to the Abandoned Assets, and (b) dispose of or destroy all tangible Abandoned

Assets in the event that they are not claimed within thirty (30) days after entry of an order, and

granting such other and further relief as this Court deems just and proper.


Date: November 23, 2021
      Wilmington, Delaware

                                              PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Colin R. Robinson
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                                              Attorneys for Dean A. Ziehl, solely in his capacity
                                              as Liquidation Trustee of the TWC Liquidation
                                              Trust formed pursuant to the Fifth Amended Joint
                                              Chapter 11 Plan of Liquidation




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